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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                         CASE NO. 8:05-CR-26-T-EAK-TBM


ALVARO VALENCIA-CANGE
                                           /

                                                 ORDER


        This cause comes before the Court on the defendant’s motions for reduction of sentence, the
requested modification was based on the retroactive application of revised cocaine base sentencing
guidelines (Docs. 372 and 385). The Court also has before it the U.S. Probation Office Amendment
Assessment (Doc. 374) and the response of the government (Doc. 390). The Court has reviewed the
motion and the Amendment Assessment for the United States Probation Office and the government
response. The Court concludes that the defendant is not eligible for a reduction in sentence based on the
amended guidelines and adopts the position that the defendant is not eligible for a reduction in sentence
because his guideline range was not lowered.    Accordingly, it is.


        ORDERED that defendant’s motion for modification of sentence be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 12th day of April, 2016.




Copies furnished to: All Counsel of Record
